                           Case 2:23-bk-00373-FMD                          Doc 12          Filed 04/07/23              Page 1 of 3
                                                              United States Bankruptcy Court
                                                                Middle District of Florida
In re:                                                                                                                 Case No. 23-00373-FMD
H2O Investment Properties LLC                                                                                          Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 113A-2                                                  User: admin                                                                 Page 1 of 1
Date Rcvd: Apr 05, 2023                                               Form ID: Dntcdfnc                                                          Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Apr 07, 2023:
Recip ID                 Recipient Name and Address
db                     + H2O Investment Properties LLC, 999 Vanderbilt Beach Road, Suite 200, Naples, FL 34108-3512

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Apr 07, 2023                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on April 5, 2023 at the address(es) listed below:
Name                               Email Address
Benjamin E. Lambers
                                   on behalf of U.S. Trustee United States Trustee - FTM Ben.E.Lambers@usdoj.gov

Michael C Markham
                                   mikem@jpfirm.com MinervaG@jpfirm.com

Michael R Dal Lago
                                   on behalf of Debtor H2O Investment Properties LLC mike@dallagolaw.com kim@dallagolaw.com,fvazquez@dallagolaw.com

United States Trustee - FTM
                                   USTPRegion21.TP.ECF@USDOJ.GOV


TOTAL: 4
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[Dntcdfnc] [District Notice Deficient Filing New Case]



                                                  UNITED STATES BANKRUPTCY COURT
                                                     MIDDLE DISTRICT OF FLORIDA
                                                          FT. MYERS DIVISION
                                                          www.flmb.uscourts.gov



In re:                                                                        Case No. 2:23−bk−00373−FMD
                                                                              Chapter 11
H2O Investment Properties LLC



________Debtor*________/



                                       NOTICE OF INCOMPLETE AND/OR DEFICIENT FILING
                                          AND OPPORTUNITY TO CURE DEFICIENCIES

    On April 2, 2023 the above named Debtor filed a Voluntary Petition under Chapter 11 of the Bankruptcy Code.
The clerk has noted deficiencies to the petition, schedules and/or other filed papers of this Debtor. The Debtor is
provided an opportunity to cure the deficiencies within the time set forth herein. All deadlines run from the original
petition file date unless otherwise noted. This case may be dismissed without further notice or hearing if the Debtor
fails to timely correct the noted deficiency.

    Debtors who are not represented by an attorney shall cure deficiencies by filing the required papers with the Court
in person at the Court or by email, facsimile ("fax"), U.S. Mail, or other delivery. Debtors are strongly encouraged to
file by email as there may be delays in the Court's processing of papers received by fax, U.S. Mail, or other delivery.

Debtors may file papers in Tampa and Ft. Myers cases at the following addresses. If papers are filed by email or fax,
Debtor must also mail the papers to the Courthouse.

flmb−intake−tampa−ft−myers@flmb.uscourts.gov
(Fax) 813−301−5192
U.S. Bankruptcy Court
801 North Florida Avenue
Suite 555
Tampa, FL 33602

           The Statement of Financial Affairs was not filed. The Debtor is directed to file a signed Statement of
           Financial Affairs using the form B107 for an individual or B207 for non−individuals within 14 days
           from the date the case was filed.
           A Corporate Ownership Statement was not filed pursuant to Fed. R. Bankr. P. 1007(a)(1) and Fed. R.
           Bankr. P. 7007.1 or was filed without an original signature or proper electronic signature in
           compliance with Fed. R. Bankr. P. 9011(a) and/or Local Rule 1001−2. The Debtor is directed to file a
           signed Corporate Ownership Statement within 14 days.
           The attorney for Debtor did not file an Attorney's Disclosure of Compensation required by 11 U.S.C.
           § 329 and Fed. R. Bankr. P. 2016(b). The attorney for the Debtor is directed to file an Attorney's
           Disclosure of Compensation (Form B2030) within 14 days from the date the petition was filed.
           Failure of attorney for the Debtor to cure this deficiency may result in sanctions or the issuance of a
           show cause order.

           The Case Management Summary has not been filed or was filed without an original signature or
           proper electronic signature in compliance with Fed. R. Bankr. P. 9011(a) and/or Local Rule 1001−2.
           Pursuant to Local Rule 2081−1(b), the chapter 11 Debtor is directed to file a signed Case
           Management Summary within the earlier of three business days following the petition date or the
           date the Debtor−in−Possession filed a motion requesting affirmative relief.
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Pursuant to 11 U.S.C. 1116(1), the following documents are required and have not been filed: the
most recent balance sheet, statement of operations, cash−flow statement and/or Federal income tax
return or a statement made under penalty of perjury that no balance sheet, statement of operations or
cash−flow statement has been prepared and no Federal tax return has been filed. The Debtor is
directed to file these documents within seven days from the date the petition was filed.

The Debtor shall pay unpaid filing fees in the amount of N/A within seven days from the date of
service of this notice. Payment shall be made by cashier’s check or money order payable to Clerk,
U.S. Bankruptcy Court at the address indicated below.



                                        FOR THE COURT
 Dated: April 5, 2023                   Sheryl L. Loesch , Clerk of Court
                                        Sam M.. Gibbons United States Courthouse
                                        801 N. Florida Ave. Suite 555
                                        Tampa, FL 33602−3899


The Clerk's office is directed to serve a copy of this notice on interested parties.
*All references to "Debtor" shall include and refer to both debtors in a case filed jointly by two
individuals.
